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Exhibit H
Case 1:20-cv-00457-ADA DQ RUE M seat obdleF 1649 (49. PE Sh daylight Time

 

Subject: IV v VMware: claim construction meet and confer

Date:
From:
To:

Ce:

Wednesday, September 23, 2020 at 7:07:17 PM Eastern Daylight Time
Rueckheim, Mike

DeBlois, Jonathan, Gilman, Robert R., Vella, Matthew D., Derek Gilliland, Gillis, Maria, Fulford,
Thomas

Winston-VMware-lV

Attachments: image001.jpg

Counsel,

Thank

you for the meet and confer yesterday regarding claim construction positions for the 1:20-cv-457 case.

| am writing to confirm and/or follow-up ona few of the terms that we discussed on the call. Please let me
know your thoughts or if you want to schedule another meet and confer call this week to discuss.

i.

Preambles

The parties discussed the preambles terms identified in VMware’s preliminary identification of proposed
claim constructions and IV’s preliminary identification of proposed claim constructions. For clarity, those
terms are listed below. The parties agree that these preamble terms are limiting. Please confirm.

VMware’s preliminary identification of proposed claim constructions preamble terms: ‘378 patent
terms 1-2; ‘546 patent terms 1-2; ‘464 patent terms 1-5

IV’s preliminary identification of proposed claim constructions preamble terms: ‘378 patent terms 1-2;
‘S46 patent terms 1-2; ‘464 patent terms 1-3

. ‘963, ‘378 and ‘546 patent terms

For “the invocation request identifying the client device and a server-based application”, VMware
discussed that the term is supported by at least the plain claim language and a discussion in the
filewrapper. | understand that IV is going to review the filewrapper citation to see if it can agree to our
proposal. Please let us know your thoughts.

For “application interface”, we discussed considering “olain and ordinary meaning” for this term so
long as there is an indication that the term is broad enough to include IV’s proposed construction. We
will confer with our client on this issue. Please let us know your thoughts.

For “indication of an actuation of a control provided on the client device”, we discussed a potential
modification to IV’s proposal of “indication of user-based interaction of a control portion of an
application-interface displayed on the client device”. Please let us know your thoughts.

 

. ‘217 patent terms

For “personal state”, we discussed considering “plain and ordinary meaning” for this term so long as
there is an indication that the term is broad enough to include VMware's proposed construction. We
will confer with our client on this issue. Please let us know your thoughts.

For “[determine / determining, by the server,] the workspace for the at least one network accessible
computer from the network accessible stored personal state”, VMware discussed that the term is
supported by at least the plain claim language and a discussion in the filewrapper. | understand that IV
is going to review the filewrapper citation to see if it can agree to our proposal. Please let us know your
thoughts.

. ‘464 patent terms

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e For the means-plus-function terms 7-16 and 23-31 (as numbered in IV’s preliminary identification of
proposed claim constructions), | understand that IV’s position is that the structure can be a “gateway
304 including routing manager 306” as described in the specification citations that IV provided and/or
“computer system 840...” as described in the specification citations that IV provided. Please confirm.
If not, please let us know whether IV is proposing that the structure must include both a “gateway 304
..” and “computer system 840 ...”

e For the means-plus-function terms 17-22, | understand that IV is going to double check whether it
intended to insert language regarding “computer system 840” into IV’s proposed structure. Please let
us know your thoughts.

-Mike

Michael R. Rueckheim

Partner

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